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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:21−cr−00698
                                                         Honorable Robert W. Gettleman
Ronald T. Molo
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 3, 2022:


        MINUTE entry before the Honorable Robert W. Gettleman as to Ronald T. Molo:
Telephonic status hearing held on 10/3/2022. Video change of plea hearing set for
11/8/2022 at 10:00 a.m. on the Webex platform. The parties are directed to email the
courtroom deputy a draft of the plea agreement by 11/1/2022. Members of the public and
media may listen to these proceedings by dialing (650) 479−3207 the meeting number,
access code, or PIN/ID is 1809883385. Counsel of record and other essential case
participants will receive an email prior to the start of the video hearing with instructions to
join the video conference. Persons granted remote access to proceedings are reminded of
the general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions, including removal of
court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. By agreement, the Court
deems the period of time from 10/3/2022 to 11/8/2022 excludable under 18 U.S.C.
§3161(h)(7)(A) − interest of justice. Mailed notice (cn).




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